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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



                                                         Mag. No. 13-3588 (MF)

 IN THE MATTER OF THE
 EXTRADITION OF DIEUSEUL
 JEAN


                                                                  ORDER



       THIS MATTER having come before the Court by way of the Government’s application

for the extradition of Dieuseul Jean; and the Court having considered the papers in support of

and in opposition to the motion; and for the reasons stated on the record on the extradition

proceeding on August 21, 2013, as well as the reasons stated in the Opinion issued on this date;

       IT IS on this 22nd day of August 2013,

       ORDERED that, the Government’s motion is GRANTED.




                                                             s/Mark Falk _______________
                                                             MARK FALK
                                                             United States Magistrate Judge
